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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

In re:                                         :
                                               :
     Henry Eugene Bailey aka Henry E.          :      Case No.: 11-16309
     Bailey, Jr.                               :      Chapter 13
                                               :      Judge Burton Perlman
         Debtor(s).                            :      ***********************
                                               :
                                               :

       MOTION OF JPMORGAN CHASE BANK, NATIONAL ASSOCIATION FOR
     RELIEF FROM STAY ON FIRST MORTGAGE FOR REAL PROPERTY LOCATED
               AT 3642 NORTHDALE PLACE, CINCINNATI, OH 45237

         JPMorgan Chase Bank, National Association (the "Creditor") in this proceeding under

Chapter 13 of the Bankruptcy Code, and pursuant to 11 U.S.C. Section 362(d) of the Bankruptcy

Code, Rules 4001, 9013 and 9014 of the Bankruptcy Rules and Local Bankruptcy Rules 4001-1,

by and through its mortgage servicing agent JPMorgan Chase Bank, NA, respectfully moves this

Court for relief from the automatic stay imposed by 11 U.S.C. Section 362(a) in order to proceed

with a state court proceeding to foreclose on the property located at 3642 Northdale Place,

Cincinnati, OH 45237. The grounds upon which this Motion is made are more fully set forth in

the attached Memorandum in Support.


                                MEMORANDUM IN SUPPORT

1.       The Court has jurisdiction over this matter under 28 U.S.C. § 157 and 1334. This is a

         core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion is

         proper under 28 U.S.C. §§ 1408 and 1409.

2.       On October 10, 2001, Henry Eugene Bailey aka Henry E. Bailey, Jr. (''Debtor'') obtained

         a loan from Humbert Mortgage, Inc. in the amount of $94,500.00. Such loan was




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       evidenced by a Promissory Note dated October 10, 2001 (the "Note"), a copy of which is

       attached as Exhibit A.

3.     To secure payment of the Note and performance of the other terms contained in it, the

       Debtor executed a Mortgage dated October 10, 2001 (the "Mortgage"). The Mortgage

       granted a lien on the real property (the "Property") owned by the Debtor, located at 3642

       Northdale Place, Cincinnati, OH 45237 and more fully described in the Mortgage. Henry

       E. Bailey acquired title to the Property by virtue of a deed from Liberty Savings Bank,

       dated January 13, 2000, filed January 18, 2000, recorded in Official Records Volume

       8172, Page 1413, Recorder's Office, Hamilton County, Ohio. A copy of said Deed is

       attached as Exhibit B.

4.     The lien created by the Mortgage was duly perfected by the filing of the Mortgage in the

       office of the Hamilton County Recorder on October 18, 2001. A copy of the Mortgage is

       attached as Exhibit C. The lien is the first lien on the property.

5.     The Note was transferred as follows:

       a.     from Humbert Mortgage Inc. to Trustcorp Mortgage Company. The transfer is
              evidenced by the endorsement attached to this Motion as Exhibit A.

       b.     from Trustcorp Mortgage Company to ____________________. The transfer is
              evidenced by the endorsement attached to this Motion as Exhibit A. Because the
              endorsement is in blank and Creditor is in possession of the original Note,
              Creditor is entitled to enforce the instrument.

6.     The Mortgage was transferred as follows:

       a.     from Humbert Mortgage Inc. to Trustcorp Mortgage Company, dated January 22,
              2002. The transfer is evidenced by the document attached to this Motion as
              Exhibit D.

       b.     from Trustcorp Mortgage Company to Chase Mortgage Company, dated August
              14, 2002. The transfer is evidenced by the document attached to this Motion as
              Exhibit E.




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       c.     Chase Manhattan Mortgage Corporation is the successor in interest to Chase
              Mortgage Company as described in detail in the Merger documents attached to
              the Motion as Exhibit F.

       d.     Chase Home Finance, LLC is the successor in interest to Chase Manhattan
              Mortgage Corporation as described in detail in the Certificate of Merger attached
              to the Motion as Exhibit G.

       e.     JPMorgan Chase Bank, National Association is the successor in interest to Chase
              Home Finance, LLC as described in detail in the Certificate of Merger attached to
              the Motion as Exhibit H.

7.     The value of the Property is $140,150.00. This valuation is based on the Auditor's tax

       record which is attached as Exhibit I.

8.     As of the date of this Motion, there is currently due and owing on the Note the

       outstanding balance of $81,607.69, plus interest accruing thereon at the rate of 7% per

       annum from December 1, 2008.

9.     Other parties known to have an interest in the Property are as follows:

       a.     the Hamilton County Treasurer;

10.    The Creditor is entitled to relief from the automatic stay under 11 U.S.C. § 362(d)(1)

       and/or 362(d)(2) for these reason(s):

       a.     Debtor has failed to provide adequate protection for the lien held by the Creditor
              for the reasons set forth below.

       b.     Debtor has failed to make periodic payments or has made partial payments to
              Creditor since the commencement of this bankruptcy case for the months of
              November 2011 through February 2012. Per the Note and Mortgage, payments
              are applied to the last month due. Based upon the foregoing, Debtor is post
              petition due for November 2011 through February 2012, which unpaid payments
              less any funds being held in post-petition suspense are in the aggregate amount of
              $5,036.62. The total provided in this paragraph cannot be relied upon as a
              postpetition reinstatement quotation.

       c.     Debtor intends to surrender the Property located at 3642 Northdale Place,
              Cincinnati, OH 45237 according to the Chapter 13 Plan filed.

11.    Creditor has completed the worksheet attached as Exhibit J.




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12.    This Motion conforms to the standard form adopted in this District except as follows:

       Clarification of language in Paragraph 3.

       WHEREFORE, Creditor prays for an Order from the Court granting Creditor relief from

the automatic stay of 11 U.S.C. § 362 of the Bankruptcy Code to permit Creditor to proceed

under law and for such other and further relief to which the Creditor may be entitled.

                                                     Respectfully submitted,

                                                      /s/ James E. Tebbutt
                                                     James E. Tebbutt (0084830)
                                                     Holly N. Wolf (0068847)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus OH 43216-5028
                                                     Telephone: 614-220-5611
                                                     Fax: 614-627-8181
                                                     Email: jet@mdk-llc.com
                                                     Attorneys for Creditor


                                    NOTICE OF MOTION

JPMorgan Chase Bank, National Association has filed papers with the court to obtain relief from
stay.

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you do not want the court to grant the relief sought in the motion, then on or before twenty-
one (21) days from the date set forth in the certificate of service for the motion, you must
file with the court a response explaining your position by mailing your response by regular U.S.
Mail to:

                          Clerk of the United States Bankruptcy Court
                                     Atrium Two, Suite 800
                                     221 East Fourth Street
                                     Cincinnati, OH 45202

OR your attorney must file a response using the court's ECF system.

The court must receive your response on or before the above date.




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You must also send a copy of your response either by 1) the court's ECF System or by 2) regular
U.S. Mail to

Manley Deas Kochalski LLC                            L. Joshua Davidson
Attention: James E. Tebbutt                          Attorney for Henry Eugene Bailey aka
P.O. Box 165028                                      Henry E. Bailey, Jr.
Columbus OH 43216-5028                               8035 Hosbrook Road
                                                     Suite 200
Office of U.S. Trustee                               Cincinnati, OH 45236
Southern District of Ohio                            josh@omdlaw.com
Party of Interest
36 East Seventh Street                               Henry Eugene Bailey aka Henry E. Bailey,
Suite 2050                                           Jr.
Cincinnati, OH 45202                                 7002 Ohio Avenue, Apt. No. 2
                                                     Cincinnati, OH 45236
Margaret A. Burks
600 Vine Street                                      Henry Eugene Bailey aka Henry E. Bailey,
Suite 2200                                           Jr.
Cincinnati, OH 45202                                 3642 Northdale Place
cincinnati@cinn13.org                                Cincinnati, OH 45237

                                                     Hamilton County Treasurer
                                                     County Administration Building
                                                     138 East Court Street
                                                     Cincinnati, OH 45202

If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion and may enter an order granting that relief without further hearing or
notice.


                                CERTIFICATE OF SERVICE

       I hereby certify that on February 9, 2012, a copy of the foregoing Motion for Relief from

Stay on First Mortgage for Real Property Located at 3642 Northdale Place, Cincinnati, OH

45237 was served on the following registered ECF participants, electronically through the

court's ECF System at the email address registered with the court:




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Office of U.S. Trustee                            L. Joshua Davidson
Southern District of Ohio                         Attorney for Henry Eugene Bailey aka
Party of Interest                                 Henry E. Bailey, Jr.
36 East Seventh Street                            8035 Hosbrook Road
Suite 2050                                        Suite 200
Cincinnati, OH 45202                              Cincinnati, OH 45236
                                                  josh@omdlaw.com
Margaret A. Burks
600 Vine Street
Suite 2200
Cincinnati, OH 45202
cincinnati@cinn13.org


and on the following by ordinary U.S. Mail, addressed to:

Henry Eugene Bailey aka Henry E. Bailey,          Hamilton County Treasurer
Jr.                                               County Administration Building
7002 Ohio Avenue, Apt. No. 2                      138 East Court Street
Cincinnati, OH 45236                              Cincinnati, OH 45202

Henry Eugene Bailey aka Henry E. Bailey,
Jr.
3642 Northdale Place
Cincinnati, OH 45237


                                                  /s/ James E. Tebbutt
                                                  James E. Tebbutt
